         Case 5:18-cr-00258-EJD Document 1708 Filed 12/13/22 Page 1 of 1



                                      PROPOSED ORDER/COVER SHEET

TO:            Honorable Edward J. Davila                             RE:     Elizabeth HOLMES
               U.S. District Judge

FROM:          Silvio Lugo, Chief                                     Docket No.:        5:18-CR-00258 EJD
               U.S. Pretrial Services Officer

Date:          12/13/22

        THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

         Anthony R. Granados, Supervising                                          (408) 535-5223

         U.S. Pretrial Services Officer                                      TELEPHONE NUMBER

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so that
we may comply with your instructions.

         I have reviewed the information that you have supplied. I do not believe that this matter requires any
         action by this Court at this time.

         Inform all parties concerned that I will conduct a Bail Review Hearing in Courtroom No.
         ____________________ on ____________________ at ____________________.

         Inform all parties concerned that a Bail Review Hearing will be conducted by:
         Magistrate Judge ____________________ Presiding District Court Judge ____________________

 X       I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s
         Pretrial Release conditions as indicated below:

  X      Modification(s)

         A.       The defendant shall reside in California as approved by Pretrial Services.
                  The defendant shall notify her assigned Pretrial Services Officer of all
                  travel outside of the district where she resides.


         I am returning the signed order and direct that a copy be provided to the Court file and all interested parties
         (AUSA and Defense Counsel).

         Other Instructions:

         _________________________________________________________________________________


                                                                   12/13/2022
         JUDICIAL OFFICER                                     DATE
